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UN|TED STATES OF AMER|CA,

F’laintitf,
VS.
CFt. NO. 05-20172-B
JA|NIE WALSH,
Detendant.

 

ORDEFt ON CONT|NUANCE AND SPECIFY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on July 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 triai date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a

report date of |V|onday, August 29, 2005, at 9:30 a.m., in Courtroom 1, 11th Floor of the

Federal Building, l\/lemphis, TN.

 

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need tila spe dy trial.

|T lS SO ORDERED this { day Of

 
    

 

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UNITED sTATE DISTRIC COUR - WESTERN D'S'TRCT 0 TNNESSEE

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This notice confirms a copy ot` the document docketed as number 24 in
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FPD

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Honorable J. Breen
US DISTRICT COURT

